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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: KENDRIA J. STEWART                                CASE NO: 20-12308
        DEBTOR                                           CHAPTER 7


                      MOTION TO COMPEL TURNOVER


      COMES NOW the Chapter 7 Trustee and files this Motion to Compel

Turnover and states as follows:

      1.     Debtor filed this chapter 7 case on July 14, 2020.

      2.     On that date debtor had a balance in one of her bank accounts of

$9,209.64.

      3.     The bank account is property of the bankruptcy estate.

      4.     The funds in the bank account are not exempt.

      5.     The undersigned requests this Court require the debtor to turn over

the funds as these funds are not exempt.

      WHEREFORE, the trustee prays that this Court enter an order demanding

the debtor turn over the $9,209.64 from debtor’s bank account.

      RESPECTFULLY submitted, this the 28th day of October 2020.

                                      ___/s/William L. Fava         _____
                                      WILLIAM L. FAVA (MSB# 101348)
                                                  Chapter 7 Trustee

P.O. Box 783
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                         CERTIFICATE OF SERVICE

      I, William L. Fava, Chapter 7 Trustee, do hereby certify that I have this

day mailed a true and correct copy of the above Motion to Compel Turnover to

the following:

      U.S. Trustee
      Via ECF at USTPRegion05.AB.ECF@usdoj.gov

      Jimmy McElroy
      Via ECF

DATED: October 28, 2020



                                           ___/s/William L. Fava _____
                                           WILLIAM L. FAVA
                                           Chapter 7 Trustee


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